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                           EXHIBIT A


          Letter from H. George Tanaka, MD
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                                                                                               TanakaVision
                                                                                               YOUR SIGHT. YOUR LIFE, OUR MISSION.




To whom it may concern:



This letter is to certify that Mr. Alexander Smirnov is under my care for the treatment ofglaucoma. Mr.
Smirnov is a 43-year-old gentleman with a history of advanced open angle glaucoma in both eyes. Mr.
Smirnov has undergone several surgeries to treat his glaucoma and prevent blindness; however, his
intraocular pressure continues to be poorly controlled despite maximal tolerated medical therapy. Mr.
Smirnov has suffered severe optic nerve damage from glaucoma and as a result has marked
constriction of his peripheral vision in both eyes. (see enclosed visual field tests) In spite of multiple
surgeries in both eyes Mr. Smirnov's intraocular pressure is under poor control, even with maximal
tolerated medical therapy. Therefore, Mr. Smirnov requires additional glaucoma surgery to lower his
intraocular pressure and prevent irreversible blindness from glaucoma.

I have scheduled Mr. Smirnov to have glaucoma surgery in his right eye on March 27,2024,at Eye
Surgery Center of San Francisco, San Francisco, California, located at 1160 Post Street, San
Francisco, California. The surgery will be performed at 7:00 AM and he will be required to report to this
facility at 6:00 AM for pre-operative registration and preparation. This surgery is an outpatient
procedure done under local anesthesia and does not require an overnight hospital stay. As this surgery
entails some risks, (surgical failure, infection, bleeding, need for re-operation, loss of vision) Mr.
Smirnov will require weekly post-operative visits after his surgery to monitor his healing and manage
any potential post-operative complications. These postoperative visits should be performed by a
fellowship-trained glaucoma specialist such as myself in a properly equipped ophthalmic outpatient
clinic.

In addition, Mr. Smirnov requires daily application ofglaucoma eyedrop medication to control his
intraocular pressure until he undergoes his surgery on March 27. He wilt also require daily application
of post-operative eyedrop medications to prevent infection and encourage proper healing of his
operated eye.

I hope this information is useful to you in allowing the necessary arrangements for Mr, Smirnov to have
his medically indicated glaucoma surgery on March 27, 2024, in San Francisco. Please contact me if
you have any questions regarding this surgery or Mr. Smirnov's glaucoma condition.


Sincerely,


 c^?
H. George Tanaka, M.D.


Co-Director, Glaucoma Service
Department of Ophthalmology
California Pacific Medical Center
San Francisco, California




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